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AS
UNITED STATES DISTRICT COURT HEV”`LE» N.C_

WESTERN DISTRICT OF NORTH CAROLINA NUV 0 8 201
ASHEVILLE DIVISION clerk U 8
) W~ Di:i.' 311 g ‘_"”t
TERI LYNN HINKLE ) '
Plaintijj‘. )
) Civil No: 1:18-CV-00007-MR-DLH
vs )
)
EXPERIAN INFORMATION )
SOLUTIONS, INC.; TRANS UNION )
LLC; EQUIFAX, INC.; EQUIFAX )
INFORMATION SERVICES, LLC )
' Defendants )

MOTION FOR ENTRY OF DEFAULT JUDGMENT
TO THE HONORABLE JUDGE OF THIS COURT:

The Plaintiff, Teri Lynn Hinkle, comes before this Court With this Motion for Entry of
Default Judgrnent against Defendants, Equifax, Inc. and Equifax Inforrnation Services, LLC and
states as folloWs:

l. Plaintiff has made all filings required of this Court to bring a cause of action against the

Defendants, Equifax, Inc. and Equifax Inforrnation Services, LLC, for damages under the

Fair Credit Reporting Act (FCRA).

2. Plaintiff has made proper service of the summons and Complaint through the United

States Postal Service to Defendants, Equifax, Inc. and Equifax Information Services,

LLC, as evidenced by the affidavit of Plaintiff.

3. The time for the Defendants to respond after denial of their Joint Motion to Dismiss

Plaintift`s First Amended Complaint (Doc. 57) is substantially past and Defendants have

made no further response to the service of summons and Complaint in this matter. The

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Defendants, Equifax, Inc. and Equifax lnformation Services, LLC are therefore in
default.
4. Plaintiff has made a Request for Clerk’s Entry of Default Judgment.
WHEREFORE, the Plaintiff respectfully requests the entry of a Default Judgment in the
amount of $2,210.00 inclusive of all Plaintiffs’ costs against the Defendants, Equifax, Inc.

and Equifax Information Services, LLC, in this matter be granted by this Honorable Court.

 

440 Beaver Ridge Road
Murphy, North Carolina 28906
828-494-2007
queensongbird@gmail.com

Motion for Default Judgment Page 2 of 3

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing document Was sent to the parties listed
below by first class mail USPS.

Counsel for Defendant(s) Equifax Inc. & Equifax Information Services LLC
Bradley J. Lingo

King & Spalding LLP

300 South Tryon Street Ste. 1700

Charlotte, NC 28202

Dated November 7, 2018

 

440 Beaver Ridge Road
Murphy, North Carolina 28906
828-494-2007
queensongbird@gmail.com

Motion for Default Judgment Page 3 of 3

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF NORTH CAROLINA NUV 0 8 2018
ASHEVILLE DIVISION Clerk
W' erk'U S-D Dist
) Dist_ ofNC COU!'! _
TERI LYNN HINKLE )
Plaintiff )
) Civil No: 1:18-CV-00007-MR-DLH
vs )
)
EXPERIAN INFORMATION )
SOLUTIONS, INC.; TRANS UNION )
LLC; EQUIFAX, INC.; EQUIFAX )
INFORMATION SERVICES, LLC )
Defena'ants )

MEMORANDUM IN SUPPORT OF DEFAULT JUDGMENT
Teri Lynn Hinkle (hereinafter “Plaintiff”), pursuant to FRCP 55(a), respectfully requests
this Honorable Court to enter default judgment against Defendants Equifax, Inc. and Equifax
Information Services, LLC (hereinafter “Defendants”) and to award Plaintiff $2,210.00 in
damages. (inclusive of Plaintiff’s costs)
PROCEDURAL BACKGROUND
On September 25, 2018 this Honorable Court entered an Order denying Defendants’ joint
Motion to Dismiss [Doc. 57]. Pursuant to FRCP l2(a)(4)(A), Defendants were required to file
an answer to Plaintiff’s First Amended Complaint [Doc. 37] by October 9, 2018.
THE CASE IS~ RIPE FOR ENTRY OF DEFAULT .]UDGMENT
Plaintiff states the following in support of the requested Default Judgment:
1. This current action was filed by First Amended Complaint on April 4, 2018 [Doc.
37], and was properly served on Defendants (See Exhibit A attached).

2. Defendants filed a joint Motion to Dismiss [Doc. 43] on April 20, 2018.

Memorandum In Support of Motion For Default Judgment Page 1 of 4

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3. On September 5 , 2018 the Honorable Dennis L. Howell, United States Magistrate
Judge filed a Memorandum and Recommendation in this case containing conclusions
of law in support of a recommendation regarding the Defendants’ motion. [Doc. 5 6]

4. Defendants did not file any objections to the Magistrate Judge’s Memorandum and
Recommendation within the fourteen (14) days of service nor did the Plaintiff.

5. On September 25, 2018 United States District Judge of this Court, the Honorable
Martin Reidinger, accepted the Memorandum and Recommendation [Doc. 56] and
Ordered that Defendants’ joint Motion to Dismiss [Doc. 43] be denied. [Doc. 57]

6. As the record reveals, Defendants failed to file an answer or other responsive
pleading within the time frame set forth as required by FRCP 12(a)(4)(A).

7. Plaintiff filed a Request for Clerks Entry of Default as to Equifax, Inc. and Equifax
Information Services, LLC on November 7, 2018.

8. Defendants are neither minors nor incompetent persons.

9. The Service Members Civil Relief Act does not apply to Defendants.

10. Defendants were served with the Request for Entry of Default. (See Exhibit A).

11. In light of the foregoing, it is highly unlikely that Defendants’ default was the result
of excusable neglect.

PLAINTIFF’S COMPLAINT SUPPORTS THE PROPOSED DEFAULT JUDGMENT
Plaintiff’s allegations are sufficient to support her causes of action.
WHEREFORE, Plaintiff requests this Honorable Court grant this Motion for Entry of

Default Judgment in the amount of $2,000.00 in statutory damages and $210.00 in costs.

Memorandum In Support of Motion For Default Judgment Page 2 of 4

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440 Beaver Ridge Road
Murphy, North Carolina 28906
828-494-2007
queensongbird@gmail.com

Memorandum In Support of Motion For Default Judgment Page 3 of 4

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Counsel for Defendant(s) Equifax Inc. & Equifax Information Services LLC
Bradley J. Lingo

King & Spalding LLP
300 South Tryon Street Ste. 1700
Charlotte, NC 28202

Da d Februar 7, 2018

   
   

T ri Lynn
440 Beaver Ridge Road
Murphy, North Carolina 28906
828-494-2007
queensongbird@gmail.com

Memorandum ln Support of Motion For Default Judgment Page 4 of 4

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EXHIBIT A

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_ ASHEV/LL';§V@C
UNITED sTATEs DISTRICT COURT NUV 0 8 2
wEsTERN DISTRICT oF NoRTH cARoLINA cl 0 78
ASHEVILLE DIVISION °'vz; u.s_ D,~St
. Dist_ ofN gourt
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TERI LYNN HINKLE )
minnij )
) civil No: 1=1s-cv-00007-MR_1)LH
vs )
)
EXPERIAN INFORMATION )
SOLUTIONS, INC.; TRANS UNION )
LLC; EQUIFAX, INC.; EQUIFAX )
INFoRMATIoN sERvICEs, LLC )
Defendants )

AFFIDAVIT IN SUPPORT OF CLERK’S ENTRY OF DEFAULT

I hereby certify that I am the plaintiff or the attorney of record for the plaintiff in the
above cause, and that defendants Equifax, Inc. and Equifax Inforrnation Services, LLC were
served by the following methods.

To Equifax, Inc.: Certified Mail #70162070000041337557 by Caitlin Scarlett
Hinkle on January 31, 2018 and the First Amended Complaint by United States
Postal Service on April 4, 2018.

To Equifax Information__ S_ervices, LLC; Certified Mail Return Receipt #
9590940216606053807734 by Caitlin Scarlett Hinkle on April 16, 2018.

_ I further certify that the defendants have failed to serve an answer or other responsive
pleading pursuant to FRCP 12, no extension has been granted or any extension has
expired; the defendants are not infants (under age 21) ’nor incompetent persons; the
defendants are not in the active military service of the U_nited States of America or its
officers or agents were not six months prior to the filing of the case.

The Clerk is requested to enter a default against said defendants

Re

Date:‘ //~ 7*’[5/ %

Teri Lynn Hinkle

440 Beaver Ridge Road
Murphy, North Carolina 28906
828-494-2007

gueensongbird`@gmail.com

 

 

 

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NOTARY

STATE OF NORTH CAROLINA
COUNTY OF CHEROKEE

Subscribed and sworn to (or affirmed) before me on this 2 day of [)[¢Dg 20 L by,

l gri Lu,, n [~/fn (`.Ll y , who proved to me on the basis of satisfactory evidence to be the
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person(s) who appeared before me.

SE_A`_‘~L ‘_`,' ij i~"‘_ 3 t

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§ 1 :: ` " c § Signature

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